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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


    ELISABETH CLEVELAND, AMY                     CASE NO. 20-cv-1906-WMW-KMM
    LARCHUK, CHRISTOPHER
    REDMON, DHAVAL SHAH, and
    THOMAS MCCORMICK,
    on behalf of themselves and all others
    similarly situated,

          Plaintiffs,

    v.

    WHIRLPOOL CORPORATION,

          Defendant.



                  [PROPOSED] PRELIMINARY APPROVAL ORDER

         This matter is before the Court on Plaintiffs’ Unopposed Motion for Preliminary

Approval of the Settlement Agreement that Plaintiffs Elizabeth Cleveland, Amy Larchuk,

Christopher Redmon, Dhaval Shah and Thomas McCormick (collectively “Plaintiffs”)

have reached with Defendant, Whirlpool Corporation (“Whirlpool”). In connection with

that Motion, the Court has considered and reviewed the following materials: (1) Plaintiffs’

Unopposed Motion for Preliminary Approval of the Settlement (the “Motion”), along with

its accompanying declarations and other materials; and (2) the Settlement Agreement and

Release and the exhibits attached thereto (the “Settlement Agreement”). 1 In addition, the



1
 Unless otherwise stated, all defined terms herein have the meaning given to such terms in
the Settlement Agreement.
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Court has considered the arguments of counsel as well as the pleadings and record in this

case. As part of the Settlement Agreement, Whirlpool is not objecting to the certification

of the Settlement Class for settlement purposes only. For the reasons addressed below, the

Court grants Plaintiffs’ unopposed motion for preliminary approval of the class action

settlement and preliminary certification of the Settlement Class for settlement purposes

only.

        I.     Factual and Procedural Background

        Plaintiffs filed four putative class-action lawsuits alleging, among other things, that

the Class Dishwashers (defined in Section I(I) of the Settlement Agreement) are defective,

in that the diverter shaft seal in the Class Dishwashers’ sump assembly could allow a leak

to develop. See Cleveland v. Whirlpool Corp., No. 20-cv-1906-WMW-KMM (D. Minn,

Sept. 4, 2020) (“Minnesota Action”), Larchuk v. Whirlpool Corp., No. 2:20-cv-04442-

BMS (E.D. Pa., Sept. 10, 2020) (“Pennsylvania Action”), Redmon v. Whirlpool Corp., No.

1:20-cv-06626 (N.D. Ill., Nov. 6, 2020) (“Illinois Action”), and Shah v. Whirlpool Corp.,

No. 3:21-cv-02739 (N.D. Cal., Apr. 16, 2021) (“California Action”).

        On August 20, 2021, with Whirlpool’s consent, Plaintiffs filed a Consolidated

Amended Complaint in this litigation for the purpose of settlement. (Minnesota Action,

ECF No. 63) (“CAC”). The CAC involves the same alleged defect as was alleged in the

complaints filed in the Northern District of Illinois, Eastern District of Pennsylvania, and

Northern District of California, and each included multiple claims made on behalf of

consumers in the states in which the complaints were filed.



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       Prior to the proposed settlement, Whirlpool filed motions to dismiss in the

Minnesota, Illinois and Pennsylvania Actions. On July 27, 2021, in the Minnesota Action,

this Court entered an Order Granting in Part and Denying in Part Defendant’s Motion to

Dismiss, granting without prejudice Whirlpool’s motion to dismiss Plaintiff Cleveland’s

claims for Breach of Contract and Unjust Enrichment, and denying the motion to dismiss

for Plaintiff Cleveland’s claims alleging breach of express and implied warranty, violations

of the Minnesota Consumer Fraud Act (MCFA), the Minnesota Uniform Deceptive Trade

Practices Act (MDTPA), and the Minnesota Unlawful Trade Practices Act (MUTPA).

(Minnesota Action, ECF No. 58).

       On April 28, 2021, in the Illinois Action, the Court granted in part and denied in

part Whirlpool’s motion to dismiss, granting Whirlpool’s motion to dismiss without

prejudice as to Plaintiff Redmon’s express warranty claim beyond the actual written

product warranty, breach of implied warranty and fraudulent concealment, and with

prejudice as to Plaintiff Redmon’s claims for negligence and injunctive relief. The court

denied the motion to dismiss Plaintiff Redmon’s claim for breach of the express warranty

as to the product warranty, and for the Illinois Consumer Fraud and Deceptive Business

Practices Act, 815 ILCS 505/1 et seq., unjust enrichment, and breach of contract. (Illinois

Action, ECF No. 31).

       In the Pennsylvania and California Actions, Plaintiff Larchuk and Plaintiffs Shah

and McCormick, respectively, voluntarily dismissed their actions prior to an order on

Whirlpool’s Motion to Dismiss. (Pennsylvania Action, ECF No. 32), (California Action,

ECF No. 21).

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       In addition to aforementioned motion practice, as described in Plaintiffs’ Motion for

Preliminary Approval of the Class Action Settlement, this Settlement is the product of

hard-fought litigation and arm’s-length negotiations, which included: (1) Plaintiffs’

retention of knowledgeable and qualified experts who performed critical analyses

regarding the alleged defect and damages at various stages of litigation, and who also

assisted with discovery; (2) negotiating a protective order, order governing electronically

stored information, and other case management orders involving coordination of litigation

and schedules across all cases; (3) attending regular case management conferences with

Magistrate Judge Menendez in this litigation and judges in the Northern District of Illinois,

Northern District of California and Eastern District of Pennsylvania; (4) significant fact

discovery, which aided the resolution of this action, and included serving and responding

to interrogatories, requests for production, and third-party retailer discovery; (5) two-full

day mediation sessions (on April 27, 2021 and April 29, 2021), and (6) subsequent months

of arm’s-length negotiations between experienced class-action counsel for both Whirlpool

and Plaintiffs, all led by a mediator with substantial experience in class action litigation.

II.Settlement Terms

   A. The Proposed Settlement Class

   The Settlement Agreement contemplates certification of the following Settlement Class

for settlement purposes only:

       All persons in the United States and its territories who either (a) purchased a
       new Class Dishwasher, or (b) acquired a new Class Dishwasher as part of the
       purchase or remodel of a home, or (c) received as a gift, from a donor meeting
       those requirements, a new Class Dishwasher not used by the donor or by

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       anyone else after the donor purchased the Class Dishwasher and before the
       donor gave the Class Dishwasher to the Settlement Class Member.

Excluded from the Settlement Class are (i) officers, directors, and employees of Whirlpool

or its parents, subsidiaries, or affiliates, (ii) insurers of Settlement Class Members,

(iii) subrogees or all entities claiming to be subrogated to the rights of a Class Dishwasher

purchaser, a Class Dishwasher owner, or a Settlement Class Member, (iv) persons who

acquired an other-than-new Class Dishwasher, (v) issuers or providers of extended

warranties or service contracts for Class Dishwashers, and (vi) persons who timely and

validly exercise their right to be removed from the Settlement class, as described below.

   B. Benefits to the Settlement Class

       As described in detail in the Settlement Agreement, these benefits include the

following compensation structure for Paid Qualifying Repairs or Replacements for Past or

Future Diverter Seal Leaks:

       i.     for Paid Qualifying Repairs or Replacements in year two (2) after

manufacture, 100% of the Average Cost of Repair ($225.00), or a cash rebate of $200 for

the purchase a new KitchenAid-brand dishwasher, or a cash rebate of $150 for the purchase

of a new Whirlpool-brand or Maytag-brand dishwasher;

       ii.    for Paid Qualifying Repairs or Replacements in year three (3) after

manufacture, 90% of the Average Cost of Repair ($202.50), or a cash rebate of $200 for

the purchase a new KitchenAid-brand dishwasher, or a cash rebate of $150 for the purchase

of a new Whirlpool-brand or Maytag-brand dishwasher;




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       iii.   for Paid Qualifying Repairs or Replacements in years four (4) or five (5) after

manufacture, 80% of the Average Cost of Repair ($180.00), or a cash rebate of $200 for

the purchase a new KitchenAid-brand dishwasher, or a cash rebate of $150 for the purchase

of a new Whirlpool-brand, or Maytag-brand dishwasher;

       iv.    for Paid Qualifying Repairs or Replacements in year six (6) after

manufacture, 60% of the Average Cost of Repair ($135), or a cash rebate of $175 for the

purchase a new KitchenAid-brand dishwasher, or a cash rebate of $125 for the purchase of

a new Whirlpool-brand, or Maytag-brand dishwasher;

       v.     for Paid Qualifying Repairs or Replacements in year seven (7) after

manufacture, 30% of the Average Cost of Repair (67.50), or a cash rebate of $100 for the

purchase of a new KitchenAid-brand, Whirlpool-brand, or Maytag-brand dishwasher; or

       vi.    for Paid Qualifying Repairs or Replacements in year eight (8) after

manufacture, a cash rebate of $100 for the purchase of a new KitchenAid-brand,

Whirlpool-brand, or Maytag-brand dishwasher.

       Settlement Class Members who have experienced a Past Diverter Seal Leak within

eight years after manufacture, and who submit a valid claim to the Settlement

Administrator within 180 days of the Notice Date, will be entitled to reimbursement for a

Paid Qualifying Repair or Replacement based on the above schedule. Settlement Class

Members who experience a Future Diverter Seal Leak, which is a leak that occurs after the

Notice Date, but within eight years of manufacture of their Dishwasher, and who submit a

valid claim to the Settlement Administrator within 90 days of the diverter seal leak, will be



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entitled to reimbursement for a Paid Qualifying Repair or Replacement based on the above

schedule.

   C. Settlement Administrator and Administration Costs

       The proposed Settlement Administrator is Angeion Group (“Angeion), a leading

class action administration firm in the United States. Whirlpool has agreed to pay for

reasonable Administration and Notice expenses. Whirlpool’s payment of notice and

administration expenses is entirely separate and apart from the benefits provided to the

Settlement Class and will have no impact on the recovery received by Settlement Class

Members.

   D. Class Member Release

       As further defined in Section IX of the Settlement Agreement, in exchange for the

benefits conferred by the Settlement, all Settlement Class Members will be deemed to have

released the Releasees from all claims that were or could have been asserted by the Class

Representatives or Settlement Class Members, through the date of this Order, arising out

of or relating to the diverter motors, diverter shafts, diverter shaft seals, and sump

assemblies featuring those parts that are alleged to have the potential to result in a leak

from the Dishwasher. The release, however, will not extinguish, and the Released Claims

do not include, claims for personal injury or for damage to property other than to the Class

Dishwasher itself.




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   E. Proposed Notice Plan

      The Notice Plan will include notices substantially in the form of Exhibits 4-6 to the

Settlement Agreement.

      The Settlement Agreement requires the parties to notify Settlement Class Members

of the Settlement by (a) emailing the notice to all members of the Settlement Class for

whom valid email addresses are known to Whirlpool, (b) mailing, by first class US mail,

Postcard Notice to all Settlement Class Members for whom Whirlpool only has a physical

mailing address, and (c) mailing, by first-class US mail, the Long Form Notice to those

Settlement Class Members requesting a copy thereof. The Settlement Administrator will

also utilize a reverse look-up service to obtain additional email addresses, and email the

Summary Notice to all members of the Settlement Class for whom an email can be

identified through the reverse look-up service. The Settlement Administrator will also

perform a national change of address search and forward notice packages that are returned

by the U.S. Postal Service with a forwarding address.

      In addition, the Settlement Administrator will create a Settlement Website that will

include all necessary and pertinent information for Settlement Class Members, including

the (1) Long Form Notice in downloadable PDF format in both English and Spanish; (2) a

claim form allowing Settlement Class members to submit claims online, including

uploading any necessary documentation, (3) a contact information page with contact

information for the Settlement Administrator, and addresses and telephone numbers for

Class Counsel and Defendant’s Counsel, (4) the Settlement Agreement, (5) the signed


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Preliminary Approval Order and publicly filed motion papers and declarations in support

thereof, (6) the Consolidated Amended Complaint, (7) upon filing, the Fee and Service

Award Application, the motion for entry of the Final Approval Order, and any motion

papers and declarations filed publicly in support thereof, and (8) relevant deadlines,

including deadlines to opt-out or object to the settlement agreement.

       Among other items, the Class Notice will include the following information: (1) a

plain and concise description of the Action and the proposed Settlement, (2) the right of

Settlement Class Members to request exclusion from the Settlement Class or to object to

the Settlement, (3) specifics on the date, time and place of the Final Approval Hearing, and

(4) information regarding Class Counsel’s anticipated fee application and the anticipated

request for the Class Representatives’ service award

       Prior to the dissemination of the Class Notice, the Settlement Administrator also

shall establish a toll-free telephone number, through which Class Members may obtain

information about the Litigation, obtain answers to frequently asked questions, and request

a mailed copy of the Long Form version of the Class Notice and Claim Form, pursuant to

the terms and conditions of the Settlement Agreement. Agreement at ¶ IV.4.7.

       Thus, the Notice program provides the necessary information for Settlement Class

Members to make an informed decision regarding the proposed Settlement. Accordingly,

the form and manner of notice proposed here fulfills all of the requirements of Rule 23 and

due process.




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   F. Opt-Outs and Objections

       The Class Notice will advise Settlement Class Members of their right to opt out of

the Settlement or to object to the Settlement and/or to Class Counsel's application for

attorneys’ fees, costs, and expenses and/or Service Award to the Class Representative, and

of the associated deadlines to opt out or object.

       Settlement Class members who chose to opt out must submit a written request for

exclusion, which must be postmarked no later than 91 days following the entry of the

Preliminary Approval Order, which deadline shall be set forth in the Summary Notice,

FAQ, and Publication Notice. Each Class Member wishing to be excluded from the

settlement shall request from the Settlement Administrator a Request for Exclusion where

the Class Member shall include their name, email address, and mailing address together

with the model number and serial number of their Class Dishwasher. Any Settlement Class

Member who does not submit a request to opt out in accordance with the deadlines and

other requirements will be bound by the Settlement absent a court order to the contrary.

       Settlement Class Members who wish to object to the Settlement must mail a written

objection, postmarked no later than 91 days following the entry of the Preliminary

Approval Order. Objections must be served on Class Counsel and counsel for Whirlpool

by the stated deadline. Any objections must include (i) the Class Member’s full name and

current address and telephone number; (ii) the model number and serial number of the

Class Dishwasher the Class Member owns or owned; (iii) a description of all of the Class

Member’s objections, the specific reasons therefore, and any and all supporting papers,


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including, without limitation, all briefs, written evidence, and declarations; and (iv) the

Class Member’s signature. Class Members submitting objections who wish to appear either

personally or through counsel at the Fairness Hearing and present their objections to the

Court orally must include a written statement of intent to appear at the Fairness Hearing in

the manner prescribed by the Notice. The objector also should comply with the Local Rules

and promptly file a Certification of Interested Entities or Persons on the docket.

       Any Settlement Class Member who has not submitted a timely request for exclusion

may appear at the Final Fairness Hearing either in person or through an attorney. However,

if the Settlement Class Member intends to appear through counsel, the Settlement Class

Member must have submitted a written objection pursuant to this section. Any lawyer who

intends to appear at the Final Fairness Hearing also must enter a written Notice of

Appearance of Counsel with the Clerk of the Court no later than the Response Deadline.

Any Settlement Class Member who intends to request the Court to allow him or her to call

witnesses at the Final Fairness Hearing must make such a request in a written brief, which

contains a list of such witnesses and a summary of their requested testimony.

       No person who has opted out of the Settlement may object to it. Any Settlement

Class Member who does not provide a timely written objection or who does not make a

record of his or her objection at the Final Approval Hearing shall be deemed to have waived

any objection and shall forever be foreclosed from making any objection to the fairness,

reasonableness, or adequacy of the proposed Settlement, Fee and Service Awards

Application, or the Fee and Expense Award or Service Awards.



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   G. Attorneys’ Fees and Costs and Service Awards

       The Settlement Agreement contemplates Class Counsel petitioning the Court for

attorneys’ fees, as well as documented, customary costs incurred by Class Counsel. The

Settlement Agreement provides that Class Counsel may seek $1,500,000.00 for attorneys’

fees, costs and Class Representative service awards. This amount represents approximately

only 7% to 9.5% of the $15.71 to $21.33 million value of the Settlement as estimated by

Plaintiffs’ expert, Frank Bernatowicz, detailed in Exhibit 2 to Plaintiffs’ Motion for

Preliminary Approval of the Settlement Agreement. Whirlpool’s payment of fees and costs

to Class Counsel is entirely separate and apart from the benefits provided to the Settlement

Class and will have no impact on the recovery received by Settlement Class Members.

       On or before 70 days after entry of the Preliminary Approval Order, Class Counsel

will file a petition for attorneys’ fees and costs explaining why the requested Fee and

Expense Award is reasonable. Class Counsel will provide lodestar information sufficient

for the Court to perform a lodestar cross-check should the Court choose to exercise its

discretion to perform one.

       Class Counsel also may petition the Court for up to $2,500.00 for each Plaintiff as

Service Awards as compensation for their time and effort in the Action. payment of service

awards is entirely separate and apart from the benefits provided to the Settlement Class and

will have no impact on the recovery received by Settlement Class Members.

       Any issues relating to attorney fees and costs or to any Service Award are to be

considered by the Court separately from the Court’s consideration of the fairness,

reasonableness, and adequacy of this Agreement and the Settlement. The final approval of

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this settlement is not contingent on approval of the full amount of the requested fees, costs

or service awards.

       III.   ANALYSIS

   A. Legal Standard

       “Court approval of a class action settlement is within the sound discretion of the

district court.” Phillips v. Caliber Home Loans, Inc., No. 19-cv-2711 (WMW/LIB), 2021

WL 3030648, at *5 (D. Minn. July 19, 2021), citing Fed.R.Civ.P.23(e). The procedure for

approval of a class action settlement occurs in two stages. In the first stage, "before

scheduling the fairness hearing, the court makes preliminary determinations with respect

to the fairness of the settlement terms, approves the means of notice to class members, and

sets the date for that final hearing." Phillips, 2021 WL 3030648, at *5, (quoting

Schoenbaum v. E.I. Dupont De Nemours & Co., No. 4:05CV01108, 2009 WL 4782082, at

*2 (E.D. Mo. Dec. 8, 2009)); See also Liles v. Del Campo, 350 F.3d 742 (8th Cir.

2003). "Because class members will subsequently receive notice and have an opportunity

to be heard on the settlement, [a] Court need not review the settlement in detail at

[the preliminary approval stage]; instead, preliminary approval is appropriate so long as

the proposed settlement falls within the range of possible judicial approval." Phillips, 2021

WL 3030648, at *5 (quoting In re M.L. Stern Overtime Litig., No. 07-CV-0118, 2009 WL

995864, at *3 (S.D. Cal. April 13, 2009) (internal quotation marks omitted)); Id. (quoting

Martin v. Cargill, Inc., 295 F.R.D. 380, 383 (D. Minn. 2013) ("At the preliminary-

approval stage, the fair, reasonable, and adequate standard is lowered, with emphasis only



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on whether the settlement is within the range of possible approval due to an absence of any

glaring substantive or procedural deficiencies." (internal quotation marks omitted))).

       To grant preliminary approval, this Court must conclude that the proposed

Settlement is "within the range of possible approval" and "does not disclose grounds to

doubt its fairness." Phillips, 2021 WL 3030648, at *6, citing Manual for Complex

Litigation § 30.41, at 237 (3d ed. 1975). This finding "is at most a determination that there

is what might be termed 'probable cause' to submit the proposal to class members and hold

a full-scale hearing as to its fairness." Phillips, 2021 WL 3030648, at *6 (quoting In re

Traffic Executive Asso.--Eastern Railroads, 627 F.2d 631, 634 (2d Cir. 1980); See also In

re Zurn Pex Plumbing Prods. Liab. Litig., No. 08-MDL-1958 ADM/AJB, 2012 WL

5055810, at *5 (D. Minn. Oct. 18, 2012).

       IV.    Findings of Fact, conclusions of Law, and Order

       A. The Settlement Agreement Warrants Preliminary Approval

       The Court finds, on a preliminary basis, that the Settlement Agreement appears to

be within the range of reasonableness of a settlement that could ultimately be given final

approval by this Court.

       1.     Here, a preliminary review of the Settlement reveals the fairness,

reasonableness, and adequacy of its terms. See Fath v. American Honda Motor Co., 2019

WL 6799796, at *5 (D. Minn. 2019) (preliminarily approving class action settlement in

action involving alleged automobile defect, where Honda extended the limited vehicle




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warranty an additional year, providing for the reimbursement of certain towing expenses,

oil change costs and diagnostic costs, and a software update).

       2.     The parties engaged in hard-fought litigation of the issues, exchanged both

formal and informal discovery, and vigorously negotiated the settlement over the course of

several months. Thus, it appears to the Court that the Settlement was negotiated at arms’

length. See Phillips, 2021 WL 3030648, at *6 (“Based on the vigorous litigation of the

issues, the exchange of informal discovery, and the rigorous negotiations described in

Plaintiffs’ submission, it appears to the Court that the Settlement was negotiated at arms’

length and under circumstances demonstrating a lack of collusion.”). Further, there is no

evidence of collusion or that the Class Counsel placed their interests above those of the

Settlement Class in negotiating this Settlement. The material terms of the Settlement were

agreed to prior to the Parties’ discussion of attorneys’ fees, costs, and expenses, and any

attorneys’ fees, costs and expenses awarded will be in addition to the relief provided to

Settlement Class Members under the Settlement Agreement.

       3.     Settlement of this action will conserve judicial resources and well as

resources of the Parties. In addition, the parties have actively litigated the legal issues, and

have exchanged substantial data and documents to permit Class Counsel and the Court to

thoroughly evaluate the Settlement against the risks and benefits of continued litigation.

       4.     Based on review of the record, the manner of negotiation, and the Settlement

Agreement, the Court concludes the Settlement is fair, adequate, and reasonable when

balanced against the probable outcome of further litigation, liability, and damages, and the

potential appeals of rulings. This is especially true when, as here, the defendant vigorously

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denies the Plaintiffs’ allegations. Through the Settlement, with the extended service plan

benefits, Settlement Class Members will be entitled to reimbursement of out-of-pocket

costs in an amount up to the average cost of repair of the alleged defect of $225.00, as

described in Section IV of the Settlement Agreement, which details the tiered relief offered

to Settlement Class Members depending on the age of their Dishwasher. See Phillips, 2021

WL 3030648, at *6, citing Holden v. Burlington N., Inc., 665 F. Supp. 1398, 1414 (D. Minn.

1987) (observing that “many of the immediate and tangible benefits” of settlement would

be lost through continued litigation, making the proposed settlement “an attractive

resolution” of the case).

       5.     The Class Representatives and Class Counsel have adequately represented

the proposed Settlement class. See Fed.R. Civ.P. 23(e)(2)(a). Class Counsel each have

more than a decade of experience in complex litigation and litigation involving defective

products. The class Representatives also have supervised the litigation by reviewing

pleadings, regularly communicating with Class counsel regarding the litigation, and

providing substantive documents as part of discovery.

       6.     It also appears to the Court that the terms of the proposed award of attorneys’

fees and expenses, and service awards, are fair and reasonable. However, before final

approval, Class Counsel shall file a separate motion seeking approval of attorneys’ fees

and expenses, and service awards, in an amount not to exceed $1,500,000.00. In this

submission, Class Counsel will set forth the specific legal and factual bases for their request

for attorneys’ fees and expenses and provide lodestar information.



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       B. Certification of the Settlement Class for Settlement Purposes is
          Appropriate.

       On a motion for preliminary approval, the parties must also show that the Court

“will likely be able to ... certify the class for purposes of judgment on the proposal.” Fed.

R. Civ. P. 23(e)(1)(B)(ii). For purposes of this proposed Settlement only, and pending final

approval of the Settlement Agreement after a Final Approval Hearing, the Court finds, for

purposes of settlement only, that the Settlement Class satisfies the requirements of Rules

23(a) and (b)(3) of the Federal Rules of Civil Procedure:

       1.     For purposes of settlement only, the proposed Settlement Class is sufficiently

numerous that joinder would be logistically impossible. The proposed Settlement Class

consists of approximately 6,700,000 Settlement Class Members. Thus, the numerosity

requirement is satisfied.

       2.     For purposes of settlement only, there is a commonality of interest among

the class members, including the following common questions of law and fact: (a) whether

the Class Dishwashers suffer from a uniform design or manufacturing Defect that causes

them to leak; (b) whether Whirlpool had a duty to disclose the alleged Defect to consumers;

(c) whether Whirlpool’s warranty limitations on Settlement class Dishwashers were

unconscionable or otherwise unenforceable; (d) whether the alleged Defect in the Class

Dishwashers is material to a reasonable consumer; (e) whether, as a result of Whirlpool’s

concealment or failure to disclose material facts, Plaintiffs and Class Members acted to

their detriment by purchasing Class Dishwashers manufactured by Whirlpool; (f) whether


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Whirlpool was aware of the Defect; (g) whether Whirlpool breached express warranties

with respect to the Class Dishwashers; (h) whether Whirlpool has a duty to disclose the

defective nature of the Class Dishwashers to Plaintiffs and Class Members; and (i) whether

Plaintiffs and Class Members are entitled to equitable relief. For the same reasons, the

predominance requirement of Federal rule of Civil Procedure 23(b)(3) is satisfied for

settlement purposes.

       3.     For purposes of settlement only, the Class Representatives’ claims are typical

of those of the Settlement Class Members. The Class Representatives’ claims arise from

the same alleged course of conduct as those of the Settlement Class Members. Thus, the

typicality requirement is satisfied.

       4.     For purposes of settlement only, the Court finds that the proposed Class

Counsel are competent and capable of exercising their responsibilities, and that they and

the proposed Class Representatives have fairly and adequately represented the interests of

the Settlement Class. Therefore, the Court appoints as Class Counsel for the Settlement

Class: Harper Segui and Rachel Soffin of Milberg Coleman Bryson Phillips Grossman.

The Court also appoints Plaintiffs Elizabeth Cleveland, Amy Larchuk, Christopher

Redmon, Dhaval Shah and Thomas McCormick(“Plaintiffs”) as Class Representatives for

the Settlement Class in this Action.

       5.     For purposes of settlement only, a class action is a superior method of

resolving the claims of the Settlement Class Members, which are of modest amounts.




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       C. The Proposed Notice Plan is Approved

       Due process under Rule 23 requires that class members receive notice of the

settlement and an opportunity to be heard and participate in the litigation. Fed. R. Civ. P.

23(c)(2)(B); See Phillips, 2021 WL 3030648, at *5; Phillips Petroleum Co. v. Shutts, 472

U.S. 797, 812 (1985); Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 175–76

(1974) (“[I]ndividual notice must be provided to those class members who are identifiable

through reasonable effort.”). “The mechanics of the notice process are left to the discretion

of the district court, subject only to the broad “reasonableness” standards imposed by due

process.” Phillips, 2021 WL 3030648, at *7; See also Tapia v. Zale Del. Inc., No.

13cv1565-PCL, 2017 WL 1399987, at *4 (S.D. Cal. April 18, 2017); Rosenburg v. I.B.M.,

No. CV06–00430PJH, 2007 WL 128232, *5 (N.D. Cal. Jan. 11, 2007) (providing that

notice should inform class members of essential terms of settlement, including claims

procedures and the right to accept, object or opt-out of settlement).

       It appears to the Court that the Notice Plan described herein, and detailed in the

Settlement Agreement, comports with due process, Rule 23, and all other applicable law.

Here, Class notice consists of email notice and postcard notice where email addresses are

unavailable, which is the best practicable notice under the circumstances. Phillips, 2121

WL 3030648, at *8, citing In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 946

(9th Cir. 2015) (finding that notice satisfied due process and Rule 23(e) when an initial

email notice was supplemented by a postcard notice to those whose emails bounced back).

       In addition, under Rule 23(e), notice to class members “must generally describe the

terms of the settlement in sufficient detail to alert those with adverse viewpoints to

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investigate and to come forward and be heard.” The court finds that substance of the

proposed Class Notice fully apprises Class Members of their rights. The Notice contains

all of the necessary information required to inform Class Members of their rights under the

Settlement, and also directs them to the Settlement Website where they can obtain more

detailed information. In addition, Class Members will be provided a toll-free number to

call with questions. Thus, the Court finds that the proposed notice is fair and reasonable.

That the costs of notice do not reduce amounts available to the class is further evidence

that the notice is fair and reasonable.

       V.     Schedule and Procedures

       The Court orders the following schedule and procedures for disseminating the

Notice, requesting exclusion from the Settlement Class, objecting to the Settlement, filing

the Fee and Service Award Application, and filing the motion for final approval:

 Date                                    Event
 42 days after entry of the Preliminary Settlement Administrator to cause Email
 Approval Order.                         Notice to be sent to Settlement Class
                                         Members with email addresses.
 42 days after entry of the Preliminary Settlement Administrator to cause Postcard
 Approval Order.                         Notice to be sent to Settlement Class
                                         Members without email addresses.
 49 days after entry of the Preliminary Settlement Administrator to establish
 Approval Order.                         Settlement Website and toll-free telephone
                                         line.
 70 days after entry of the Preliminary Deadline for Class Counsel to file Fee and
 Approval Order.                         Service Award Application.
 91 days after entry of the Preliminary Response Deadline (deadline to request
 Approval Order.                         exclusion or file objections).
 105 days after entry of the Preliminary Deadline to file motion for final approval.
 Approval Order.
                                         Deadline to respond to objections
                                         Final Fairness Hearing

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       VI.    Final Fairness Hearing

       The Court will hold a Final Approval Hearing on _____________, 2022 at [TIME]

in Courtroom 7A of the United States District Court, District of Minnesota, 316 North

Robert Street, St. Paul, Minnesota, 55101, to determine the fairness, reasonableness, and

adequacy of the Settlement Agreement, and to determine whether the proposed Settlement

should be finally approved, and final judgment entered thereon. At the Final Approval

Hearing, the Court will also consider Class Counsels’ Motion for Approval of Attorneys’

Fees and Expenses and Class Representative Service Awards. Any Class Member who

follows the procedures set forth in the Settlement Agreement may appear and be heard at

the Final Approval Hearing. The Final Approval Hearing may be continued or rescheduled

without further notice to the Settlement Class.

       VII.   Other Provisions

       Class Counsel and Whirlpool are authorized to take, without further Court approval,

all necessary and appropriate steps to implement the Settlement, including the proposed

Notice Plan and confirmatory discovery. The deadlines set forth in this Order may be

extended by Order of the Court without further notice to Settlement Class Members, except

that notice shall be posted on the Settlement Website. Settlement Class Members should

check the Settlement Website regularly for updates and further details regarding the

deadlines. Exclusions and objections must meet the deadlines and follow the requirements




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set forth in the approved Class Notice to be valid, although the Court will accept exclusions

and objections deemed to be in substantial compliance.

       If for any reason the Court does not execute and file an Order of Final Approval, or

if the Effective Date does not occur for any reason, the parties will be restored to the status

quo ante as set forth more specifically in the Settlement.

       Pending final approval, no Class Member, directly, representatively, or in any other

capacity (other than a Class Member who validly and timely elects to be excluded from the

Settlement Class), shall commence, continue, or prosecute against Whirlpool, or any of the

Released Parties any action or proceeding in any court or tribunal asserting any of the

matters, claims, or causes of action that are to be released upon final approval pursuant to

the Settlement Agreement, and are hereby enjoined from so proceeding. Upon final

approval, all Class Members who have not previously filed a timely request for exclusion

shall be forever enjoined and barred from asserting any of the matters, claims, or causes of

action released pursuant to the Settlement Agreement, and any such Class Members will

be deemed to have forever released any and all such matters, claims, and causes of action

as provided for in the Settlement Agreement.

ORDER

       Based on the foregoing analysis and all the files, records and proceedings herein, IT

IS HEREBY ORDERED:

       1.     Plaintiffs’ Unopposed Motion for Preliminary Approval of Class Action

Settlement and Certification of the Settlement Class is GRANTED;



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       2.       The proposed Settlement Class is certified for settlement purposes only

pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure;

       3.       The proposed Settlement is preliminarily approved as being fair, reasonable

and adequate pursuant to Rule 23(e);

       4.       Plaintiffs Elizabeth Cleveland, Amy Larchuk, Christopher Redmon, Dhaval

Shah and Thomas McCormick are appointed as Class Representatives;

       5.       Harper Segui and Rachel Soffin are appointed as Class Counsel;

       6.       Whirlpool is ordered to provide the Settlement Class Member List, including

email addresses when available, to the Settlement Administrator, who is ordered to follow

the confidentiality provisions set forth in the Settlement Agreement with respect to such

information; and

        7.      The proposed Notice Plan complies with the requirements of Rule 23 and

due process, and Class Notice is to be sent to the Settlement Class Members as set forth in

the Settlement Agreement and pursuant to the deadlines above.

       IT IS SO ORDERED.



       Dated:                       , 2021        _________________________
                                                  HON. WILHELMINA M. WRIGHT
                                                  United States District Court
                                                  District of Minnesota




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